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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION



UNITED STATES OF AMERICA,

                       Plaintiff,

               vs.                                            CASE NO.: 2:01-CR-148 (3)
                                                              JUDGE SMITH
                                                              MAGISTRATE JUDGE KING
EDWARD L. CARTER,

                       Defendant.


                                             ORDER

       On January 3, 2013, the Magistrate Judge issued a Report and Recommendation

recommending that the Defendant’s supervised release be revoked and that he be sentenced to a term

of imprisonment of one month, with no new term of supervised release to follow. (Doc. 225).

       The Magistrate Judge held a final supervised release revocation hearing on January 3, 2013.

The Defendant stipulated to the violations of supervised release described in the Probation Officer’s

report. No additional evidence was presented. The Magistrate Judge heard arguments from counsel

regarding the appropriate sentence. Specifically, counsel agreed that a minimal sentence in this case

was appropriate. It was agreed that the sentence should be served consecutive to the sentence

imposed in the Eastern District of Virginia of 121 months followed by 5 years of supervised release.

Based on all this information, the Magistrate Judge recommended that Defendant’s supervised

release be revoked and that he be sentenced to one month imprisonment, with no additional term of

supervised release to follow.
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       Defendant was specifically informed of his right to contest the Report and Recommendation

by filing any objections within 14 days of the issuance of the Report and Recommendation.

Defendant did not file any objections.

       Accordingly, the Court ADOPTS the Report and Recommendation and hereby confirms the

revocation of Defendant’s supervised release. Defendant is hereby sentenced to one month

imprisonment to be served consecutive to the sentence imposed in the Eastern District of Virginia,

with no additional term of supervised release to follow.

               IT IS SO ORDERED.


                                                     /s/ George C. Smith
                                                     GEORGE C. SMITH, JUDGE
                                                     UNITED STATES DISTRICT COURT




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